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 Fill in this information to identify the case:

 Debtor name         Foundry Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         18-32177-sgj11
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 16, 2018                           X /s/ Barry Capece
                                                                       Signature of individual signing on behalf of debtor

                                                                       Barry Capece
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Foundry Club, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                18-32177-sgj11                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bison Financial                                                                                                                                                          $18,000.00
 Group, Inc.
 Lincoln Legacy One,
 Suite 200
 6860 North Dallas
 Parkway
 Plano, TX 75024
 Camino Global                                                                                                                                                          $310,000.00
 Foundation
 8625 La Prada Dr,
 Dallas, TX 75228
 CC Growth Partners                                                                                                                                                         $2,500.00
 1604 Leeward Lane.
 Plano, TX 75093
 Cherry, Lane,                                                                                                                                                              $8,500.00
 Peterson
 8350 Central
 Expressway
 Suite 1500
 Dallas, TX 75206
 CPUSMockingbird,                                                                                                                                                         $47,845.00
 LP
 5910 N Central
 Expressway
 Suite 125
 Dallas, TX 75206
 Dalworth                                                                                                                                                                     $405.00
 12750 S. Pipeline
 Road
 Dallas, TX 75207
 Denitech                                                                                                                                                                 $10,000.00
 8350 N Central Expy
 Suite 350
 Dallas, TX 75206
 Drawbridge                                                                                                                                                                 $2,992.00
 PO Box 271179
 Dallas, TX 75207


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Foundry Club, LLC                                                                                  Case number (if known)         18-32177-sgj11
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ferguson, braswell,                                                                                                                                                        $8,400.00
 Fraser, Kubasta PC
 2500 Dallas
 Parkway, Suite 600
 Plano, TX 75093
 Foundry Ventures,                                                                                                                                                        $45,000.00
 LLC
 5307 E Mockingbird
 Suite 500
 Dallas, TX 75206
 Foundy Club Global,                                                                                                                                                      $50,000.00
 Inc.
 2218 Bryan Street,
 #201
 Dallas, TX 75201
 G.L. Seamon                                                                                                                                                            $113,000.00

 Hedrick Kring, PLLC                                                                                                                                                        $3,276.05
 1700 Pacific Ave.,
 Suite 4650
 Dallas, TX 75201
 hGroup, LLC                                                                                                                                                              $10,000.00
 Jim Holloway
 6909 Leameadow
 Dr.
 Dallas, TX 75234
 InterBank                                                                                                                                                              $138,386.00
 4921 North May
 Ave.,
 Oklahoma City, OK
 73112
 KHA                                                                                                                                                                        $8,400.00
 4880 Long Prairie
 Road, #100
 Plano, TX 75093
 Labor Poster                                                                                                                                                                   $84.00
 Services
 901 Mapac
 Expressway South,
 Bldg. 1
 Austin, TX 78746
 Lisa Patton                                                                                                                                                                $7,300.00
 9910 Lakemere Dr
 Dallas, TX 75238
 Sentry Technical                                                                                                                                                           $2,992.00
 Servces
 11421 Chairman Dr.
 Dallas, TX 75243
 TGB Partners:                                                                                                                                                            $40,000.00
 2705 Bees Cave
 Road, #120
 Austin, TX 78748


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            Foundry Club, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               18-32177-sgj11
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            74,098.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            74,098.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           827,080.05


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             827,080.05




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Foundry Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         18-32177-sgj11
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Interbank                                                                                                                       $20,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $20,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Mockingbird Station                                                                                                             $34,098.50



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                     $34,098.50
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Foundry Club, LLC                                                             Case number (If known) 18-32177-sgj11
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 39.       Office furniture
           furniture and equipment                                                          $0.00                                        $20,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $20,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Foundry Club, LLC                                                            Case number (If known) 18-32177-sgj11
                Name

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor          Foundry Club, LLC                                                                                   Case number (If known) 18-32177-sgj11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $20,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $34,098.50

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $20,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $74,098.50          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $74,098.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name         Foundry Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         18-32177-sgj11
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Foundry Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)           18-32177-sgj11
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
           Accountemps                                                          Contingent
           2001 Ross                                                            Unliquidated
           Suite 3500                                                           Disputed
           Dallas, TX 75201
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $18,000.00
           Bison Financial Group, Inc.                                          Contingent
           Lincoln Legacy One, Suite 200                                        Unliquidated
           6860 North Dallas Parkway                                            Disputed
           Plano, TX 75024
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $310,000.00
           Camino Global Foundation                                             Contingent
           8625 La Prada Dr,                                                    Unliquidated
           Dallas, TX 75228                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $2,500.00
           CC Growth Partners                                                   Contingent
           1604 Leeward Lane.                                                   Unliquidated
           Plano, TX 75093                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 4
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 Debtor       Foundry Club, LLC                                                                       Case number (if known)            18-32177-sgj11
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Cherry Peterson Landry Albert LLP                                     Contingent
          Campbell Centre Tower I                                               Unliquidated
          8350 North Central Expressway, Suite 150                              Disputed
          Dallas, TX 75206
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,500.00
          Cherry, Lane, Peterson                                                Contingent
          8350 Central Expressway                                               Unliquidated
          Suite 1500                                                            Disputed
          Dallas, TX 75206
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $47,845.00
          CPUSMockingbird, LP                                                   Contingent
          5910 N Central Expressway                                             Unliquidated
          Suite 125                                                             Disputed
          Dallas, TX 75206
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $405.00
          Dalworth                                                              Contingent
          12750 S. Pipeline Road                                                Unliquidated
          Dallas, TX 75207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          Denitech                                                              Contingent
          8350 N Central Expy Suite 350                                         Unliquidated
          Dallas, TX 75206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,992.00
          Drawbridge                                                            Contingent
          PO Box 271179                                                         Unliquidated
          Dallas, TX 75207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,400.00
          Ferguson, braswell, Fraser, Kubasta PC                                Contingent
          2500 Dallas Parkway, Suite 600                                        Unliquidated
          Plano, TX 75093                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 4
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 Debtor       Foundry Club, LLC                                                                       Case number (if known)            18-32177-sgj11
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $45,000.00
          Foundry Ventures, LLC                                                 Contingent
          5307 E Mockingbird                                                    Unliquidated
          Suite 500                                                             Disputed
          Dallas, TX 75206
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $50,000.00
          Foundy Club Global, Inc.                                              Contingent
          2218 Bryan Street, #201                                               Unliquidated
          Dallas, TX 75201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $113,000.00
          G.L. Seamon                                                           Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,276.05
          Hedrick Kring, PLLC                                                   Contingent
          1700 Pacific Ave., Suite 4650                                         Unliquidated
          Dallas, TX 75201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          hGroup, LLC                                                           Contingent
          Jim Holloway                                                          Unliquidated
          6909 Leameadow Dr.                                                    Disputed
          Dallas, TX 75234
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $138,386.00
          InterBank                                                             Contingent
          4921 North May Ave.,                                                  Unliquidated
          Oklahoma City, OK 73112                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,400.00
          KHA                                                                   Contingent
          4880 Long Prairie Road, #100                                          Unliquidated
          Plano, TX 75093                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 4
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 Debtor       Foundry Club, LLC                                                                       Case number (if known)            18-32177-sgj11
              Name

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $84.00
           Labor Poster Services                                                Contingent
           901 Mapac Expressway South, Bldg. 1                                  Unliquidated
           Austin, TX 78746                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,300.00
           Lisa Patton                                                          Contingent
           9910 Lakemere Dr                                                     Unliquidated
           Dallas, TX 75238                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Platt Cheema Richmond PLLC                                           Contingent
           1201 N. Riverfront Blvd., Suite 150                                  Unliquidated
           Dallas, TX 75207                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,992.00
           Sentry Technical Servces                                             Contingent
           11421 Chairman Dr.                                                   Unliquidated
           Dallas, TX 75243                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $40,000.00
           TGB Partners:                                                        Contingent
           2705 Bees Cave Road, #120                                            Unliquidated
           Austin, TX 78748                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       827,080.05

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          827,080.05




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 4
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          Case 18-32177-sgj11 Doc 15 Filed 07/16/18                               Entered 07/16/18 17:53:25                      Page 14 of 18
 Fill in this information to identify the case:

 Debtor name         Foundry Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         18-32177-sgj11
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Landlord
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                9 years                   CPUSMockingbird, LP
                                                                                    5910 N Central Expressway
             List the contract number of any                                        Suite 125
                   government contract                                              Dallas, TX 75206




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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          Case 18-32177-sgj11 Doc 15 Filed 07/16/18                              Entered 07/16/18 17:53:25                  Page 15 of 18
 Fill in this information to identify the case:

 Debtor name         Foundry Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         18-32177-sgj11
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Foundry                           5307 Mockingbird                                  Camino Global                      D
             Ventures, Inc                     Suite 500                                         Foundation                         E/F       3.3
                                               Dallas, TX 75206
                                                                                                                                    G




    2.2      Foundry                           5307 Mockingbird                                  Drawbridge                         D
             Ventures, Inc                     Suite 500                                                                            E/F       3.10
                                               Dallas, TX 75206
                                                                                                                                    G




    2.3      Foundry                           5307 Mockingbird                                  Ferguson, braswell,                D
             Ventures, Inc                     Suite 500                                         Fraser, Kubasta PC                 E/F       3.11
                                               Dallas, TX 75206
                                                                                                                                    G




    2.4      Foundry                           5307 Mockingbird                                  G.L. Seamon                        D
             Ventures, Inc                     Suite 500                                                                            E/F       3.14
                                               Dallas, TX 75206
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 2
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 Debtor       Foundry Club, LLC                                                     Case number (if known)   18-32177-sgj11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Foundry                           5307 Mockingbird                          Hedrick Kring, PLLC                D
             Ventures, Inc                     Suite 500                                                                    E/F       3.15
                                               Dallas, TX 75206
                                                                                                                            G




    2.6      Foundry                           5307 Mockingbird                          hGroup, LLC                        D
             Ventures, Inc                     Suite 500                                                                    E/F       3.16
                                               Dallas, TX 75206
                                                                                                                            G




    2.7      Foundry                           5307 Mockingbird                          InterBank                          D
             Ventures, Inc                     Suite 500                                                                    E/F       3.17
                                               Dallas, TX 75206
                                                                                                                            G




    2.8      Foundry                           5307 Mockingbird                          KHA                                D
             Ventures, Inc                     Suite 500                                                                    E/F       3.18
                                               Dallas, TX 75206
                                                                                                                            G




    2.9      Foundry                           5307 Mockingbird                          Lisa Patton                        D
             Ventures, Inc                     Suite 500                                                                    E/F       3.20
                                               Dallas, TX 75206
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 2 of 2
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                                                               United States Bankruptcy Court
                                                                      Northern District of Texas
 In re      Foundry Club, LLC                                                                                         Case No.       18-32177-sgj11
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Foundry Ventures, LLC                                                                                                           100%
 5307 E Mockingbird
 Suite 500
 Dallas, TX 75206


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date July 16, 2018                                                          Signature /s/ Barry Capece
                                                                                            Barry Capece

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                                                            BTXN 094 (rev. 5/04)




                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS

 In Re:                                                                     §
                                                                            §
              Foundry Club, LLC                                             §         Case No.: 18-32177-sgj11
                                                                            §
                                                                            §
                                                             Debtor(s)      §
                                                                            §

                                                 VERIFICATION OF MAILING LIST


          The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                     is the first mail matrix in this case.

                                     adds entities not listed on previously filed mailing list(s).

                                     changes or corrects name(s) and address(es) on previously filed mailing list(s).

                                     deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.




 Date:       July 16, 2018                                           /s/ Barry Capece
                                                                     Barry Capece/Managing Member
                                                                     Signer/Title

 Date: July 16, 2018                                                 /s/ Eric A. Liepins
                                                                     Signature of Attorney
                                                                     Eric A. Liepins
                                                                     Eric A. Liepins
                                                                     12270 Coit Road
                                                                     Suite 100
                                                                     Dallas, TX 75251
                                                                     972-991-5591 Fax: 972-991-5788

                                                                         XX-XXXXXXX
                                                                     Debtor's Social Security/Tax ID No.


                                                                     Joint Debtor's Social Security/Tax ID No.




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